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                                                  #:1547


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                     14                                   UNITED STATES DISTRICT COURT

                     15                                  CENTRAL DISTRICT OF CALIFORNIA

                     16                                         SOUTHERN DIVISION

                     17 UNITED STATES OF AMERICA ex rel                    Case No. 2:13-cv-05861 JLS (AJS)
                        MARIA GUZMAN, et al,
                     18                                                    ASSIGNED FOR ALL PURPOSES TO
                                     Plaintiffs,                           Judge Josephine L. Staton
                     19
                              vs.                                          Date: May 14, 2021
                     20                                                    Time: 10:30 a.m.
                        INSYS THERAPEUTIC, INC.; MICHAEL                   Ctrm: 10A - 10th Flr.
                     21 BABICH, an Individual; ALEC                              411 W. Fourth St., Santa Ana, CA
                        BURLAKOFF, an Individual; JOHN N.                        92701
                     22 KAPOOR, an Individual; and DOES 1
                        through 15,,                                       DECLARATION OF RUSSELL PICCOLI
                     23                                                    IN SUPPORT OF DEFENDANT
                                     Defendants.                           MICHAEL BABICH'S MOTIONS TO
                     24                                                    DISMISS THIRD AMENDED
                                                                           COMPLAINT AND UNSEAL FILE
                     25
                                                                           Third AC Filed: August 13, 2018
                     26
                     27
                     28
       LAW OFFICES
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                                            DECLARATION OF RUSSELL PICCOLI IN SUPPORT OF DEFENDANT MICHAEL
                            1231566.02/LA        BABICH'S MOTION TO DISMISS THIRD AMENDED COMPLAINT
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